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                                                     United States Bankruptcy Court

                                                                   District of Delaware

                                                             Boy Scouts of America

                                          Boy Scouts of America Case No. 20-10343


                                                                                                     Court ID (Court use only)_____________

                   NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives notice pursuant to Rule
3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this notice.


Name of Transferee                                                                                 Name of Transferor

Argo Partners                                                                                      GA DESIGNS INC, DBA ANJU

Name and Address where notices and payments to transferee                                          Court Record Address of Transferor
should be sent

Argo Partners                                                                                      GA DESIGNS INC, DBA ANJU
12 West 37th Street, Ste 900                                                                       75 JOHN PORTMAN BLVD NW, STE 6S-349
New York, NY 10018                                                                                 ATLANTA, GA 30303
Phone: (212) 643-5444



                                                                                                   Court Claim #14481
                                                                                                   Amount $1,408.00




I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge and belief.


By:/s/ Matthew Friend                                                                              Date: 9/21/2022
Transferee/Transferee’s Agent
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.

                                               ~~DEADLINE TO OBJECT TO TRANSFER~~
           The transferor of claim named above is advised that this Notice of Transfer of Claim Other Than for
           Security has been filed in the clerk’s office of this court as evidence of the transfer. Objections must be
           filed with the court within twenty (20) days of the mailing of this notice. If no objection is timely received
           by the court, the transferee will be substituted as the original claimant without further order of the court.


Date:___________                                                                        ______________________________
                                                                                        CLERK OF THE COURT
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